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                              UNITED STATES DISTR ICT COURT
                              FOR THE DISTR ICT OF COLUMBIA




 SIERRA CLUB                                          Case No. 1:17-cv-02174

                 Plaintiff,
        v.

 SCOTT PRUITT, in his official capacity as
 Administrator, U.S. Environmental Protection
 Agency,

                 Defendant.




                              Joint Motion to Enter Briefing Schedule
       As required by the Court’s May 21 order, the parties report that they have not resolved

this matter, and propose the following schedule for summary-judgment briefing:

       •     June 29, 2018: Sierra Club’s motion for summary judgment;

       •     August 13, 2018: EPA’s combined response to Sierra Club’s motion and cross

             motion for summary judgment;

       •     October 1, 2018: Sierra Club’s combined reply in support of its motion and response

             to EPA’s cross motion;

       •     October 22, 2018: EPA’s reply in support of its cross motion.

       The parties respectfully ask the Court to enter this schedule.

Dated: May 31, 2018
                                                     Respectfully submitted,
                                                     JEFFREY H. WOOD
                                                     Acting Assistant Attorney General

                                                          /s/ Sue Chen
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                                                  Counsel for Plaintiff Sierra Club
                                    Certificate of Service
      I certify that on May 31, 2018, I filed the foregoing with the Court’s CMS/ECF system,
which will send notice to each party.


                                                      /s/ Sue Chen
                                                  SUE CHEN

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